   Case: 1:17-cv-00080-GHD-DAS Doc #: 258 Filed: 04/06/23 1 of 5 PageID #: 1751




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               ABERDEEN DIVISION

 WILL MCRANEY                                                                        PLAINTIFF

 V.                                                 CIVIL CAUSE NO. 1:17-CV-80-GHD-DAS

 THE NORTH AMERICAN MISSION
 BOARD OF THE SOUTHERN BAPTIST
 CONVENTION, INC.                                                                  DEFENDANT



                        STIPULATED ORDER REGARDING
                  CONFIDENTIALITY OF THIRD-PARTY DOCUMENTS
                             PRODUCED BY BCMD

       PRESENTLY BEFORE THE COURT is a Consent Motion to Enter Stipulated Order

Regarding Confidentiality of Third-Party Documents Produced by BCMD.                  After careful

consideration, the Court finds that:

       1.      Plaintiff Will McRaney and Defendant The North American Mission Board of the

Southern Baptist Convention, Inc. have served subpoenas on third-party Respondent Baptist

Convention of MD/DE, Inc. (“BCMD”), seeking documents in connection with the above-

captioned litigation.

       2.      BCMD intends to produce certain documents in response to the subpoenas but

wishes for its production, which contains confidential and proprietary ministerial, ecclesiastical,

religious, business, and personnel information, to be subject to confidentiality provisions.

       3.      There is currently no protective order governing the production of documents by

BCMD.

       4.      Nevertheless, an order regarding confidentiality of the third-party documents

responsive to the parties’ subpoenas is in order.
   Case: 1:17-cv-00080-GHD-DAS Doc #: 258 Filed: 04/06/23 2 of 5 PageID #: 1752




        5.     BCMD and the parties have reached an agreement regarding the confidentiality

provisions that should govern BCMD’s production of the documents, and the Court finds those

provisions to be appropriate and necessary.

        IT IS, THEREFORE, ORDERED THAT:

        1.     BCMD shall label as “Confidential” any documents that it produces in this matter

that it wishes to protect from disclosure and believes are entitled to protection under the Federal

Rules of Civil Procedure.

        2.     The parties and any person receiving BCMD documents labeled Confidential

pursuant to the terms of this Stipulated Order may use said documents only for the purposes of this

litigation.

        3.     The parties and their counsel are responsible for employing reasonable measures to

control access to and secure distribution of BCMD documents designated Confidential.

        4.     Except as otherwise provided in this Stipulated Order, Confidential BCMD

documents shall only be disclosed to the following persons:

               (a)     Counsel for the parties who have appeared in this litigation and associated

personnel necessary to assist counsel in this action, such as paralegals and litigation support,

information technology, information or records management, investigative, secretarial, or clerical

personnel, provided that each is first advised of the terms of this Order;

               (b)     The parties and their officers or employees, including in-house counsel,

whose assistance is reasonably necessary to assist counsel in this action, provided that each is first

advised of the terms of this Order;

               (c)     Experts or consultants retained for this litigation, including both consulting

and testifying experts, who have first signed the “Acknowledgement and Agreement to Comply

                                                  2
   Case: 1:17-cv-00080-GHD-DAS Doc #: 258 Filed: 04/06/23 3 of 5 PageID #: 1753




with Stipulated Order Regarding Confidentiality of Third-Party Documents Produced by BCMD”

in the form attached hereto as Exhibit A;

               (d)     The Court and court personnel;

               (e)     Court reporters, videographer services, translation service, photocopy

service, document management service, records management service, graphics service or such

other litigation assistance service designated by a party or party’s legal counsel in this litigation

who have first signed the attached “Acknowledgement and Agreement to Comply with Stipulated

Order Regarding Confidentiality of Third-Party Documents Produced by BCMD”;

               (f)     Any private mediators used in this action and their employees who have

first signed the attached “Acknowledgement and Agreement to Comply with Stipulated Order

Regarding Confidentiality of Third-Party Documents Produced by BCMD”;

               (g)     Any witness who is called to testify at a deposition or hearing in this

litigation, provided that any such person or entity is advised of the terms of this Stipulated Order.

         5.    Counsel for the parties shall maintain all copies of the executed “Acknowledgement

and Agreement to Comply with Stipulated Order Regarding Confidentiality of Third-Party

Documents Produced by BCMD” forms, as well as a list of all individuals who have signed the

forms.

         6.    Persons receiving BCMD Confidential material pursuant to the terms of this

Stipulated Order are prohibited from disclosing it to any person except in conformance with this

Protective Order.

         7.    This Stipulated Order does not itself provide confidential treatment to motions,

briefs, or other filed documents, or require any party to file anything under seal. If a party files a

motion or other submission specifically disclosing the substance of BCMD’s Confidential

                                                  3
   Case: 1:17-cv-00080-GHD-DAS Doc #: 258 Filed: 04/06/23 4 of 5 PageID #: 1754




materials produced pursuant to the third-party subpoena, BCMD may seek an order from the Court

to seal any such documents, after conferring with the parties and setting forth the position of the

parties in any BCMD motion to seal.

       8.      Absent further order from the Court, within 90 days of the conclusion of this

litigation, including appeals, the parties shall destroy or delete all Confidential items that have not

been made public as a result of proceedings referenced herein and certify in writing to BCMD that

the items have been destroyed or deleted. Notwithstanding this provision, counsel are entitled to

retain an archival copy of all pleadings, motion papers, transcripts, legal memoranda,

correspondence (including e-mails), trial and deposition exhibits, expert reports, and attorney work

product, even if such materials contain confidential information subject to this Protective Order.

Any such archival copies that contain or constitute confidential information remain subject to this

Protective Order.

       This the 6th day of April, 2023.



                                               /s/ David A. Sanders
                                               UNITED STATES MAGISTRATE JUDGE




                                                  4
      Case: 1:17-cv-00080-GHD-DAS Doc #: 258 Filed: 04/06/23 5 of 5 PageID #: 1755



                                          EXHIBIT A

                           UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF MISSISSIPPI

 Will McRaney,                                  )
                                                )
          Plaintiff                             )
                                                )
 v.                                             )       No. 1:17-cv-00080-GHD-DAS
                                                )
 The North American Mission Board of            )
 the                                            )
 Southern Baptist Convention, Inc.,             )
                                                )
          Defendant

            ACKNOWLEDGMENT AND AGREEMENT TO COMPLY WITH
             STIPULATED ORDER REGARDING CONFIDENTIALITY OF
              THIRD-PARTY DOCUMENTS PRODUCED BY THE ERLC

         I, ___________________________________, hereby attest to my understanding that

the information and/or documents designated “Confidential” are provided to me pursuant to

the terms and conditions set forth in the “Stipulated Order Regarding Confidentiality of Third-

Party Documents Produced by BCMD” entered in this matter by the Court on

_________________________; that I have been given a copy and have read said Stipulated

Order; and I hereby agree to be bound by said Stipulated Order and its terms.

         Further, I agree to subject myself to the jurisdiction of the United States Court for the

Northern District of Mississippi in and for any contempt proceeding or other appropriate

sanction as the Court may deem proper for violation of the referenced Stipulated Order or this

Acknowledgment and Agreement to Comply with Stipulated Order.



Date: _________________                        ________________________________
                                               Signature

                                               ________________________________
                                               Printed Name
